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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                              ENTERED
                                                                                            02/25/2020
IN RE:                                         §
                                               §       MISC CASE NO: 20-00301
GWENDOLYN ROBESENA WILDS,                      §
                                               §
                                               §
                                               §
         Respondent.                           §       DAVID R. JONES

                                          ORDER
                                        (Docket No. 7)

       For the reasons stated on the record on January 21, 2020 pursuant to FED. R. BANKR. P.
7052, the motion to dismiss for lack of jurisdiction is DENIED.


       SIGNED: February 25, 2020.


                                               ___________________________________
                                               DAVID R. JONES
                                               UNITED STATES BANKRUPTCY JUDGE




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